
Thacher, J.,
said he thought the description was sufficient, and therefore that the judgment ought not to be arrested.
Sedgwick, J.
Three reasons are stated in the motion in arrest of judgment. The two last are reasons why the first should prevail. There is no doubt that the law requires a description according to the statute. It is not objected that the crime itself is not charged technically, nor that it is not the crime alleged' in the statute ; but the objection is that the subject of it is not sufficiently described. I think otherwise, and that the intention of the act was to make all evidences of debt (choses in action) subjects of larceny. And therefore, if a note of a bank in England, or any other country, should be stolen here, it would be within the statute. The indictment alleges that the defendant stole a bank-note, of the value of ten dollars, of the goods, chattels, &amp;c. This is a sufficient allegation of property and value, and, in my opinion, as particular a description as the law requires ; if a more particular description were, by law, necessary, it would be extremely difficult, and in most cases impossible, to convict; because ordinarily a person [ * 340 ] cannot testify as to the bank which issued*the note; he can testify to nothing more than the amount. As to the bar, a plea with an averment would undoubtedly be sufficient.
Strong, J.
None of the reasons, which have been offered in this case in objection to the indictment, apply; they are applicable in cases of forgery only. The offence stated is not an offence at common law; it is created by statute ; and it would defeat the in tention of the statute if the objections were suffered to prevail; if the particular description contended for were requisite. A person ■generally knows no more than the amount of bank-notes which he may be in possession of, and that they are of banks whose credit is *255good, and to which there is no particular objection. The question, with me, has been whether the indictment ought not to have averred that the note was for the payment of money; and the first impression on my mind was, that the indictment, for want of that averment, was bad, and therefore that the judgment must be arrested. But upon looking into authorities, though I do not find any directly in point, and attending to the subject, I am inclined to think it ,‘s sufficient. Had the indictment stated a note, without any thing more, it would have been insufficient; because a note may mean other things than a note for' the payment of money. But a banknote always means a note for the payment of money; and it makes no difference whether a bank be incorporated or not; the statutes make no difference, nor was any intended.
